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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


In re:                                  )            CASE NO. MC 08-6420-S-EJL
THE SPOKESMAN-REVIEW, THE )
ASSOCIATED PRESS, THE IDAHO )                        RELATED CASE NO. CR07-23-N-EJL
STATESMAN, IDAHO PRESS CLUB, IDAHO )
NEWSPAPER FOUNDATION, IDAHOANS )                     MEMORANDUM ORDER
FOR OPENNESS IN GOVERNMENT, IDAHO )
ALLIED DAILIES, IDAHO STATE )
BROADCASTERS ASSOCIATION, BOISE )
STATE RADIO, KHQ-TV, KREM-TV, KXLY- )
                                        )
TV, KTVB-TV, KTRV-TV, KBCI-TV and KIVI-
                                        )
TV
                                        )
       Movants.                         )


       On August 5, 2008, the Court entered an order granting the Media’s motion for the

courtroom to remain open during the presentation of graphic video tapes that were

anticipated to be offered as evidence in the related case, United States v. Joseph Edward

Duncan, III, CR07-23-N-EJL. A motion for reconsideration of that August 5, 2008 Order

has been filed by Steven V.G. and the Media has filed a response to the same. The Court has

reviewed the matter including both the recent and prior briefing in addition to the record in

both cases. Having done so the Court finds as follows.

                                        Discussion

       The Court previously concluded that “[t]hough the videos in question are disturbing,
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they are direct evidence of the crimes and are necessary to the jury’s consideration and must

be presented to the jury. The Court is sensitive to the family’s interest in maintaining their

privacy and the dignity of the victim. However, ours is an open judicial system that requires

a compelling interest that outweighs the lengthy history of public access to open court

proceedings. Unlike the compelling interests noted above as to the surviving minor victim,

such interests that outweigh the public’s right of access as to the videos have not been shown

here. As such, the courtroom will remain open during the presentation of the videos in

question.” (Dkt. No. 29).

       The instant motion asks that the Court employ reasonable time, place, and manner

restrictions for the viewing of the video such as: limiting the number of representatives of

non-trial/non-court participants and a limitation on the manner in which the video tape is

presented. Because of the graphic nature of the video, the Court considered the proposed

limitations previously when it entered the August 5, 2008 Order. The Court has again

contemplated the alternatives proposed in the instant motion. However, the Court’s

conclusion remains the same as determined in the Court’s prior Order. The Court will take

precautions to eliminate the possibility of any recording of any kind being made when the

video is shown. In addition, the Court will admonish the public and the jury prior to the

video being played. Accordingly, the motion for reconsideration is denied.
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                                            ORDER

       Based on the foregoing, the Motion for Reconsideration (Dkt. No. 31) is DENIED.

       The Clerk of the Court is directed to file this Order in case MC08-6420 in the normal

course and to serve the same upon all parties.

       IT IS SO ORDERED.




                                                        DATED: August 21, 2008




                                                        Honorable Edward J. Lodge
                                                        U. S. District Judge
